     Case 1:12-cr-00052-LG-RPM        Document 656      Filed 06/29/17    Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           SOUTHERN DIVISION

BERNARD MILFORD BELL, JR.                                                PETITIONER

v.                                               CRIMINAL NO. 1:12-cr-52-LG-RHW
                                                        CIVIL NO. 1:16-cv-219-LG

UNITED STATES OF AMERICA                                                 RESPONDENT


                        CERTIFICATE OF APPEALABILITY

       A final order adverse to the applicant having been filed in the captioned habeas
corpus case, in which the detention complained of arises out of process issued by a state
court or a proceeding pursuant to 28 U.S.C. § 2255, the Court, considering the record
in the case and the requirements of 28 U.S.C. § 2253, Rule 22(b) of the Federal Rules
of Appellate Procedure, and Rule 11(a) of the Rules Governing Section 2254 and 2255
Cases in the United States District Courts, hereby finds that:

        X A Certificate of Appealability should not issue. The applicant has failed
       to make a substantial showing of the denial of a constitutional right.

            A Certificate of Appealability should issue for the following specific
issue(s):


       SO ORDERED AND ADJUDGED this the 29th day of June, 2017.


                                                 s/   Louis Guirola, Jr.
                                                 LOUIS GUIROLA, JR.
                                                 CHIEF U.S. DISTRICT JUDGE
